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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                     §
                                                   §
           Plaintiffs,                             §
                                                   §
 v.                                                §   Civil Action No. 4:21-cv-01236-O
                                                   §
 LLOYD J. AUSTIN, III, et al.,                     §
                                                   §
           Defendants.                             §

                                              ORDER

           Upon consideration of the parties’ Joint Motion to Temporarily Stay Proceedings, or in the

Alternative, for a 30-day Extension of Deadlines (ECF No. 232), filed March 6, 2023, it is, therefore,

ORDERED that:

       •    The Joint Motion is GRANTED;

       •    All remaining deadlines (other than the mediation deadline) set forth in the Amended

            Scheduling Order, ECF No. 220 are stayed pending resolution of the mootness briefing

            separately ordered.

           SO ORDERED on this 7th day of March, 2023.



                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
